Case 19-11278-amc        Doc 47    Filed 08/23/20 Entered 08/23/20 10:37:27            Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                        :
                                                 :
            Malika S. Jones                      :       Case No.: 19-11278(AMC)
                                                 :
            Debtor(s)                            :       Chapter 13

                    Notice of Motion, Response Deadline and Hearing Date

           Brad J. Sadek, Esq., attorney for the Debtor in the above captioned matter has
   filed a Motion to Modify Chapter 13 Plan for the reasons detailed in the enclosed Motion.

          Your rights may be affected. You should read these papers carefully and discuss
   them with your attorney, if you have one in this Bankruptcy case. (If you do not have an
   attorney you may wish to consult an attorney).

            1.      If you do NOT want the court to grant the relief sought in the motion, then
   on or before September 10, 2020 you or your Attorney must do ALL of the following:
   If you mail your answer to the clerk’s office for filing, you must mail it early enough so
   that it will be received on or before the date stated above; and

   (a)      file an answer explaining your position at:
                                   United States Bankruptcy Court
                                   Eastern District of Pennsylvania
                                   900 Market Street, Suite 400
                                   Philadelphia, PA 19107
   (b)      mail a copy to the movant’s attorney:
                                   Brad J. Sadek, Esq.
                                   Sadek and Cooper
                                   1315 Walnut Street #502
                                   Philadelphia, PA 19107

          2.      If you or your attorney do not take the steps described in paragraphs 1(a)
   and 1(b) above and attend the hearing, the court may enter an order granting the relief
   requested in the enclosed motion.

          3.    A hearing on the motion is scheduled to be held before The Honorable
   Ashely M. Chan on September 17, 2020 at 11:00 AM at The United States Bankruptcy
   Court, 900 Market Street, Philadelphia, PA 19107 Courtroom #4.

          4.      You may contact the Bankruptcy Clerks office at (215) 408-2800 to find
   out whether the hearing has been cancelled because no one filed an answer.
